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            2I                                                             '~j ~_~~ r
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                                                                          ~~                     RICT COURT       ~
                                                                        CENT DI        RI        OF     FORNIA
                                                                       $Y                                DEPUTY


            s

            s'                              UNITED STATES DISTRICT COURT
            9.
                                           CENTRAL DISTRICT OF CALIiORNIA

    :0•
        -,             i~Ts~D s~~TEs of ~~ica,
                                .             ~
        12                             Plaintiff,)
    .J                            v.               ) o~L~t o~ ~E:'R~'TION AFT~x ~:.x~Ty~
                                                   ~         t18 G.S.C. ~ 31~2Ei))
        ?~~
                       ~~~~ ~               ~ ~
        ~+~+
                i
     _;                                De~~ndant.)
    :a~
      i
    :?~                                                    I.                                                         ~
    .n                       A_   (~n motion flf the Government involving an alleged                              }
        ~ c~                                                                                                      1
                                  1.   {   j   cz ime o~ viol+ence~;
        20 j                      2. ( )       aff~nse with maximum sentence„o~•life
           ~I
        ~_ ~
                                               imprisonment or death;                           ~-   ~            !
                                                                                 '                                    i
        22                        3. (~ nazcotics or controlled substanc8 effense
        ~J
                                               with maximum sentence of ten or more years
        24                                     (21 II.S.C. ~§ 8D1,/951, et. sea.,/955a);
                                                                                                                      1
        2~                        4. (     )   felony -defendant convicted of two or r~ore ~
        2b
                                               prior offenses describe
        z~                                                                      E     R D ON COURTRAN
                       ///
        28             iii                                                             .1UC " 1987
                         CR94 (5/86)                      'Z'
                                                                           ~.
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,'                                         #:10988

       ~i
                                                                                              i
 .i~
     ~I             B.   On motion ( ? (5y t!~e Government)/(
                                                    r                                 -~
                                                                         ) (by tie Cou~~
 ~{
 .:. ~                   sun s~onte involving)
    1~
   ~i                         1. (       ) serious risk defendant will flee;
   ~If                        2.    (    ) serious risk def~nda:~t wii~
                                                                                              r
                                    a.        (   ) obstruct or attemat to obstruct           ~
   6                                                justice;

                                    b.        (   ) t.'~reaten, injure, or intiraiaate a      '
   8        •~                                      prospective witness or juror oz
   9~                                               attempt to no so.
 ~a~                                                  zz.                                     I
                    The CDur~ fines no condition or combination o~ conci:inns•`.
                                                                                              i
            will reasonably a           re:
,2~~
 s.7 ~I             A. ( ) .appearance of aefenaant as zeauirec;                              ~

 _~ ~!,
   ~ ~~
                                                    and/or

                    B. (     ; suety of any person or t~~e co~,munity;
       ~;
 ie                                                  III.
      is
       ~,
:fi i                                                                                             t
                    The Court bias considered:                                                    ~
 18 i                                                                                         i
                    ~
                    .    t   ? ~e nature and circumstances of the offense;
    i                                                                                             i
 ~
                    B• (~ the weirht of evidence against the fiefendant;
  ai~               C. (~ the ~iistory and
 2D i                                                 •char~ac~er=sties of .the' ae~endant,~
    a
 `~                 D. (/S the nature and seriousness of the ganger to an.y
 22                            person or to the community.
 ~~ i
                                                      Iv.                                         ~
 24                 The Court concludes:
 25                 A. (     ) Defendant poses a risk to the safety of other
 26                            persons or the community because:
 27

 28

            CR-94
                                                      -2-
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     !;                                                                                     i
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 _)                                                                                         i



 J                 B_   (       ) History and c~azacteristics indicate a serious

                                  r isk that defendant will flee because:                   ~
                                                                                            i
 5

 s                                                                                          i
 r
 a
 9                 C.   (       ) A serious risk exis~s that cefendant will:                {
~Q                                1. (     ~ obstruct or attempt to obst.uct just:ce;l
_~
                            •     2.   (   )... threaten, injuze or intiminate a

=~                                           witness/juror;                                 i
                                                                                            i
.J                                3. (     } attempt to t:~reaten, injure or inti~i-

=~                                           aate a witness./juror;                         ~
                                                                                            i
~V `                              Because.
     1

~ y!


     1                                                                                          I
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~gl                D, (         ) Defendant has not rebutted by snfficiQn~ evinQnce
                                                    J
2Q                                to tie contrery ~th~ - presuagtion pr~v~aed in
~~                                1B I7. S.C. § 3142(e).        ~           -                   j

22                 IT IS ORDERED defendant be detained prior to trial_                          i
2~                 IT IS FDRTHER ORDERED that defendant be confined as far as~

24         .practicable in a corrections facility sepazate from Persons
                                                                                                1
25        __awaiting or serving sentences or persons held pending appeal. ~                     1
26         ///
27        ///
28        ///

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                   ~I           :^_'   S Ft~RT~FR ORDERED t:~a~~~ dependant be a~~o
                                                                                    rded reason-
              ZI         able o~portLnity for private consultation wit: his
                                                                            counsel.
              J

              S          DAT~D: ('2

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                                                           U. S. MAGIS'~'RF~TE/

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